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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
                                                      271 Cadman Plaza East
                                                      Brooklyn, New York 11201

                                                      April 12, 2023
  BY ECF
  Honorable Nina R. Morrison
  United States District Judge
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201

                Re:      United States of America v. Rare Breed Triggers, LLC, et al.,
                         No. 23-CV-369 (Morrison, J.) (Levy, M.J.)

  Dear Judge Morrison:
         The parties jointly respectfully request the Court’s endorsement of the below proposed
  schedule in advance of the May 23, 2023 preliminary injunction hearing.

                                                   Deadline
   Defendants’ Opposition to the United States’ April 28, 2023
   Motion for Preliminary Injunction (Dkt. No. 5)
   shall be filed by:
   The Parties shall exchange all expert April 28, 2023
   disclosures pursuant to the Federal Rules of
   Civil Procedure, including any expert reports
   by:
   The United States’ Reply Brief in Support of May 8, 2023
   its Motion for Preliminary Injunction shall be
   filed by:
   The Parties’ proposed Witness and Exhibit May 12, 2023
   Lists for the Preliminary Injunction Hearing
   shall be exchanged by:
   The Parties’ respective Witness and Exhibit May 18, 2023
   Lists for the Preliminary Injunction Hearing
   shall be filed by:
   The Parties’ respective Motions in Limine in May 18, 2023
   advance of the Preliminary Injunction Hearing
   shall be filed by:
   The Parties’ respective Oppositions (if any) to May 22, 2023 at 12 p.m.
   Motions In Limine in advance of the
   Preliminary Injunction hearing shall be filed
   by:
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          Additionally, following a meet-and-conferral between the parties with respect to the United
  States’ discovery requests, the parties respectfully request the Court’s endorsement of the attached
  confidentiality and protective order.
          The United States thanks the Court for its consideration of this matter.

                                                        Respectfully submitted,

                                                        BREON PEACE
                                                        United States Attorney

                                                               /s/
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  Encl.

  cc:     All Counsel of Record (By ECF)




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